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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                 SAN ANTONIO DIVISION

TEXAS DEMOCRATIC PARTY,                            )
GILBERTO HINOJOSA, Chair of the                    )
Texas Democratic Party, JOSEPH DANIEL              )
CASCINO, SHANDA MARIE SANSING,                     )
and BRENDA LI GARCIA,                              )
                                                   )
       Plaintiffs,                                 )
                                                   )
and                                                )
                                                   )
LEAGUE OF UNITED LATIN                             )
AMERICAN CITIZENS (LULAC), and                     )
TEXAS LEAGUE OF UNITED LATIN                       )
AMERICAN CITIZENS,                                 )
                                                   )
       Plaintiff-Intervenors,                      )
                                                   )
V.                                                 )      CIVIL ACTION NO. SA-20-CA-438-FB
                                                   )
JOHN B. SCOTT, Texas Secretary of State,           )
                                                   )
       Defendant.                                  )

                          ORDER SETTING BRIEFING SCHEDULE
                                 AND ORDER OF STAY

       Before the Court is the status of the above styled and numbered cause. The parties have

indicated they would like to file additional briefing concerning defendant’s motions to dismiss (docket

nos. 150 & 151) which are pending before the Court. After careful consideration, the Court is of the

opinion that a briefing schedule should be set and this case should be stayed pending a ruling on the

motions to dismiss.

       IT IS THEREFORE ORDERED that defendant shall file his response to plaintiffs’ and plaintiff-

intervenors’ supplemental briefing (docket no. 167) on or before March 18, 2022.
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       IT IS FURTHER ORDERED that plaintiffs and plaintiff-intervenors shall file their reply to

defendant’s response to their supplemental briefing on or before April 18, 2022.

       IT IS FINALLY ORDERED that the above styled and numbered cause is STAYED pending

further order of the Court. Though stayed, this case will still exist on the docket of this Court and may

be reopened upon request or on the Court's own motion. Parties may continue to file motions and

documents in the case.

       It is so ORDERED.

       SIGNED this 22nd day of February, 2021.


                                        _________________________________________________
                                        FRED BIERY
                                        UNITED STATES DISTRICT JUDGE




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